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UNITED STATES DISTRICT COURT aug /U! _ __ ~}f_‘
WESTERN DISTRICT OF TENNESSEE "5' fir/fp
-" 111 “-
EASTERNDIVISION ' '(
JARRED WASHINGTON, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
CORRECTIONS CORPORATION CASE NO: 1:03-123‘7-B
OF AMERICA, et al.,
Defendants.

 

I)ECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prej udice entered on July 5, 2005, this cause is hereby dismissed with prej udice.

AP ROVED:

 

THOHASM.GOLLD _

Clerk of Court

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(By) Deputy Clerk

 

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Honorable .1. Breen
US DISTRICT COURT

